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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               Case No. 18-cv-60138-BLOOM/Valle

  NIGEL CHRISTOPHER MARTIN,

         Movant,
  v.

  UNITED STATES OF AMERICA,

        Respondent.
  _____________________________________/

                                              ORDER

         THIS CAUSE is before the Court upon the Motion to Vacate Pursuant to 28 U.S.C.

  Section 2255, ECF No. [1] (“Motion”), filed on January 23, 2018 by Movant Nigel Christopher

  Martin (“Movant”). On February 28, 2018, the Court entered an order requiring the Government

  to show cause why the Motion should not be granted. ECF No. [6]. The Government filed its

  response, ECF NO. [7] (“Response”), on March 28, 2018, and Movant filed a reply on April 6,

  2018, ECF No. [9] (“Reply”). On April 20, 2018, Movant filed a Motion for Expedited Ruling

  on Post-Conviction Motion, ECF No. [10], advising the Court that Movant is “days away from

  being deported to his native Jamaica” and “request[ing] that the Court make an expedited ruling

  on his case before his actual deportation to Jamaica.” Id. ¶¶ 4–5. The Court has reviewed the

  Motion, the memoranda in support and opposition, the record, and is otherwise fully advised.

  For the reasons set forth below, the Motion is denied.

         I.      FACTUAL BACKGROUND

         Movant is a 26 year old native of Jamaica who engaged in a scheme to make

  unauthorized credit card purchases at Home Depot through the store’s telephone transaction

  system. ECF No. [1] ¶ 8; see also Case No. 16-cr-60238, ECF No. [68] (“Factual Proffer”).
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  Based on this conduct, on December 6, 2017, Movant was charged, along with three other co-

  defendants, by a superseding indictment on three counts: Count 1, Conspiracy to Commit Device

  Fraud under 18 U.S.C. § 1029(b)(2); Count 2, Access Device Fraud under 18 U.S.C. 1029(a)(2);

  and Count 9, Aggravated Identify Theft under 18, U.S.C. § 1028(A)(a)(l). ECF No. [1] ¶ 1; see

  also Case No. 16-cr-60238, ECF No. [37] (“Superseding Indictment”).

         On January 1, 2017, Movant entered into a plea agreement, Case No. 16-cr-60238, ECF

  No. [69] (“Plea Agreement”). Pursuant to the Plea Agreement, Movant agreed to plead guilty to

  Counts 2 and 9, and the Government agreed to seek dismissal of Count 1 after sentencing. Id.

  ¶¶ 1–2. Paragraph 10 of the Plea Agreement stated as follows:

                The defendant is aware that the sentence has not yet been
                determined by the Court. The defendant also is aware that any
                estimate of the probable sentencing range or sentence that the
                defendant may receive, whether that estimate comes from the
                defendant’s attorney, this Office, or the probation office, is a
                prediction, not a promise, and is not binding on this Office, the
                probation office or the Court.

  Id. ¶ 10 (emphasis added). Regarding the potential immigration consequences of Movant’s plea,

  Paragraph 16 of the Plea Agreement states:

                Defendant recognizes that pleading guilty may have consequences
                with respect to the defendant’s immigration status if the defendant
                is not a citizen of the United States. Under federal law, a broad
                range of crimes are removable offenses, including the offenses to
                which defendant is pleading guilty.          Removal and other
                immigration consequences are the subject of a separate proceeding,
                however, and defendant understands that no one, including the
                defendant’s attorney or the Court, can predict to a certainty the
                effect of the defendant’s conviction on the defendant’s
                immigration status. Defendant nevertheless affirms that the
                defendant wants to plead guilty regardless of any immigration
                consequences that the defendant’s plea may entail, even if the
                consequence is the defendant’s automatic removal from the
                United States.




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  Id. at ¶ 16 (emphasis added). At the plea hearing, Movant confirmed under oath that he had read

  and understood the Plea Agreement, and that his attorney, Mr. Gibson, had answered all of his

  questions regarding the Plea Agreement. See Case No. 16-cr-60238, ECF No. [101] (“Plea Tr.”)

  at 4, 21–22. Movant also confirmed under oath that he had read and understood the Factual

  Proffer, and he admitted that the facts contained in the Factual Proffer were true, including that

  Capital One’s fraud loss related to the scheme was in excess of $200,000. See Case No. 16-cr-

  60238, ECF No. [68] at 2–3; [101] at 21–22; [185] at 19.

         During the plea colloquy the Court confirmed that Movant had received no assurances

  related to his plea beyond what was set forth in the Plea Agreement:

                 THE COURT: Has anyone made any promises or assurances of
                 any kind, other than what is set forth in the Plea Agreement, to
                 persuade you to enter into it?

                 THE DEFENDANT: No, Your Honor.

  Id. at 4–5. Upon entry of his guilty plea as to Count 2, the Court a second time asked Movant:

  “Has anyone made any promises or assurances to you, other than what’s set forth in the Plea

  Agreement, to persuade you to plead guilty?” Id. at 6. Movant responded “No, Your Honor.”

  Again, upon entry of his guilty plea as to Count 9, the Court for a third time asked Movant: “Has

  anyone made any promises or assurances to you, other than what’s set forth in the Plea

  Agreement, to persuade you to plead guilty?” Id. at 8. Movant again replied in the negative. Id.

         The Court then conducted a colloquy with Movant about the potential immigration

  consequences of his plea:

                 THE COURT: Have you and Mr. Gibson discussed the
                 immigration consequences of your guilty plea?

                 THE DEFENDANT: Yes, Your Honor.




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                 THE COURT: And you understand, sir, that if you are not a citizen
                 of the United States, in addition to the other possible penalties you
                 are facing, a plea of guilty may subject you to deportation,
                 exclusion, or voluntary departure and prevent you from obtaining
                 United States citizenship?

                 THE DEFENDANT: Yes, Your Honor.

  Plea Tr. at 9–10. At the conclusion of the plea hearing, the Court deferred sentencing until

  March 9, 2018. Id. at 24.

         The United States Probation Office issued a pre-sentence report on February 9, 2017.

  Case No. 16-cr-60238, ECF No. [74] (“PSR”). On March 2, 2017, Movant, through counsel,

  objected to the loss amounts contained in the PSR at paragraphs 26 and 34, stating that

  “Defendant is responsible for $1,000.00 not $210,676.69.” Case No. 16-cr-60238, ECF No.

  [100]. Prior to sentencing, both the Government and Movant moved the Court for a downward

  departure. Case No. 16-cr-60238, ECF Nos. [99] and [102].

         On March 9, 2017, the Court conducted Movant’s sentencing hearing. Movant, through

  counsel, made several arguments in mitigation of his sentence, including Movant’s strong family

  ties and personal difficulties related to his physical disability as a child, as well as Movant’s

  minor role compared to his co-defendants in the scheme. Case No. 16-cr-60238, ECF No. [185]

  (“Sentencing Tr.”). Counsel also argued that the loss amount should only reflect transactions

  that Movant directly took part in, not the loss amount for the overall scheme. Id.

         During sentencing, there were several references to Movant’s immigration status and

  likely removal after serving his sentence. First, while making arguments in mitigation of his

  sentence, counsel for Movant acknowledged that “[w]e know that he’s subject to removal.”

  Sentencing Tr. at 10. Counsel further stated when advocating for a sentence lower than eighteen

  months as recommended by the Government that: “It’s not a life-ending – certainly the message



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  has been received loud and clear. You can give him six minutes. He’s not coming back.” Id. at

  39. During argument prior to the Court’s denial of Movant’s request for self-surrender, the

  Government noted “although I’m not an immigration attorney, the Defendant will be removed

  after his term of imprisonment . . . [and] has every incentive to just leave now.” Id. at 46.

  Movant’s father also spoke on his behalf at sentencing, asking the Court to “send him home” to

  Jamaica. Id. at 30. At the conclusion of the sentencing hearing, the Court varied downward and

  imposed a term of incarceration of twelve months. Id. at 42.

         II.    THE MOTION TO VACATE

         Movant now moves to vacate his sentence pursuant to 28 U.S.C. § 2255. In his motion,

  Movant argues that Mr. Gibson provided ineffective assistance of counsel because “he failed to

  advise Movant that he faced mandatory deportation in entering a guilty plea to an aggravated

  felony.” ECF No. [1] at 3. Movant claims that he would have never pleaded guilty had he

  known he would be subject to mandatory deportation. Id. Specifically, Movant argues that Mr.

  Gibson provided three assurances to Movant that convinced him to plead guilty. First Movant

  argues that “Attorney Gibson assured the defendant that the dollar amount that he would be held

  responsible for was for his personal conduct which was far less than $10,000.00.” Second,

  Movant argues that Mr. Gibson told him that he would not be subject to deportation as a result of

  his guilty plea. Id. at 4, 5–6. Third, Movant argues that Mr. Gibson also “assured” Movant that

  he would be sentenced to less than one year of incarceration. Id. at 5, 9. The Government

  opposes the Motion, arguing principally that Movant’s arguments in his Motion contradict the

  record, including the Plea Agreement, the Factual Proffer, and the plea colloquy. See ECF No.

  [7] at 5–7.




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         III.    LEGAL STANDARD

         A prisoner is entitled to relief under 28 U.S.C. § 2255 if the court imposed a sentence that

  (1) violated the Constitution or laws of the United States, (2) exceeded its jurisdiction, (3)

  exceeded the maximum authorized by law, or (4) is otherwise subject to collateral attack. See 28

  U.S.C. § 2255(a); McKay v. United States, 657 F.3d 1190, 1194 n.8 (11th Cir. 2011). “Relief

  under 28 U.S.C. § 2255 is reserved for transgressions of constitutional rights and for that narrow

  compass of other injury that could not have been raised in direct appeal and would, if condoned,

  result in a complete miscarriage of justice.” Lynn v. United States, 365 F.3d 1225, 1232 (11th

  Cir. 2004) (citations and internal quotation marks omitted).

         Ineffective assistance of counsel claims are generally not cognizable on direct appeal and

  are properly raised by a § 2255 motion, even if they may have been brought on direct appeal.

  Massaro v. United States, 538 U.S. 500, 503 (2003); see also United States v. Franklin, 694 F.3d

  1, 8 (11th Cir. 2012); United States v. Campo, 840 F.3d 1249, 1257 n.5 (11th Cir. 2016). To

  demonstrate ineffective assistance of counsel, a § 2255 movant must show that (1) counsel’s

  performance was deficient, falling below an objective standard of reasonableness, and (2) the

  movant suffered prejudice as a result of the deficient performance. Strickland v. Washington,

  466 U.S. 668, 687–88 (1984). Strickland’s two part test also applies to guilty pleas. Lafler v.

  Cooper, 566 U.S. 156, 162–63 (2012) (citing Hill v. Lockhart, 474 U.S. 52, 58 (1985)).

         On the first prong of the Strickland test, the movant must demonstrate that “counsel’s

  representation fell below an objective standard of reasonableness.” Stickland, 466 U.S. at 688–

  89. Thus, to be entitled to relief, a movant must “prove serious derelictions on the part of

  counsel sufficient to show that his plea was not, after all, a knowing and intelligent act.” Downs-

  Morgan v. United States, 765 F.2d 1534, 1539 (11th Cir. 1985) (quoting McMann v. Richardson,



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  397 U.S. 759 (1970)). On the second prong, a movant “can show prejudice by demonstrating a

  reasonable probability that, but for counsel’s errors, he would not have pleaded guilty and would

  have insisted on going to trial.” Lee v. United States, 137 S.Ct. 1958, 1965 (2017); see also

  Carver v. United States, No. 14-15769, 2018 WL 388620, at *3 (11th Cir. Jan. 12, 2018). If a

  defendant fails to show either deficient performance or prejudice, the Court need not address the

  other prong. Strickland, 466 U.S. at 697.

         A defendant’s statements under oath at a plea hearing give rise to a presumption that the

  plea is constitutionally adequate. Downs-Morgan, 765 F.2d at 1541 n.14 (citing Blackledge v.

  Allison, 431 U.S. 63, 74–75 (1977)). Thus, even when a defendant argues that he received

  promises or assurances from an attorney which induced him to plead guilty and later proved to

  be erroneous, a defendant’s statements under oath at a plea colloquy that he received no such

  promises or assurances cures the potential prejudice. Stillwell v. United States, 709 F. App’x

  585, 590 (11th Cir. 2017); see also Lee, 137 S. Ct. 1698 n.4 (noting that “[s]everal courts have

  noted that a judge’s warnings at a plea colloquy may undermine a claim that the defendant was

  prejudiced by his attorney’s misadvice”).

         On a motion under § 2255, the Court may hold an evidentiary hearing, but need not do so

  if “the motion and the files and records of the case conclusively show that the prisoner is entitled

  to no relief.” 28 U.S.C. § 2255(b); see also Rosin v. United States, 786 F.3d 873, 879 (11th Cir.

  2015) (finding no abuse of discretion when district court declined to hold a hearing when

  movant’s allegations of prejudice were affirmatively contradicted by the record); Stillwell, 709 F.

  App’x at 590 (“[T]he district court did not abuse its discretion by declining to hold an

  evidentiary hearing because . . . Stillwell’s contention that he would not have pled guilty but for




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  his counsel’s advice is contradicted by the record, namely the plea agreement and the plea

  colloquy.”).

         IV.     ANALYSIS

         Movant claims that he received three false assurances from Mr. Gibson which were not

  contained in the Plea Agreement that convinced him to plead guilty. First, Movant argues that

  Mr. Gibson assured him that the loss amount to was less than $10,000.00. Second, Movant

  claims that Mr. Gibson assured him that Movant would not be subject to removal. And third,

  Movant claims that Mr. Gibson assured him that he would not be sentenced to more than a year

  of incarceration. These claims are directly contradicted by Movant’s statements under oath at

  the plea colloquy. At the plea hearing, Movant stated three times that he did not receive any

  assurances beyond what was contained in the Plea Agreement. Moreover, Movant averred that

  he read and understood the Plea Agreement and Factual Proffer, documents which specifically

  stated that Capital One had produced records demonstrating that the loss amount was over

  $200,000.00, that Movant could be subject to removal based on his plea, and that no one,

  including his attorney, could predict the exact sentence he would receive. See Case No. 16-cr-

  60238, ECF No. [68] at 2–3; [101] at 21–22; [185] at 19.

         The Court credits Movant’s statements under oath at the plea hearing as true. See

  Blackledge v. Allison, 431 U.S. 63, 74 (1977) (“Solemn declarations in open court carry a strong

  presumption of verity.”); United States v. Medlock, 12 F.3d 185, 187 (11th Cir. 1994) (“There is

  a strong presumption that the statements made during the colloquy are true.”). Thus, even

  assuming, without deciding, that Mr. Gibson did make these three assurances, Movant cannot

  establish prejudice because he confirmed, by signing the Plea Agreement and during the

  colloquy with the Court, that he understood that his guilty plea could subject him to immigration



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  consequences, including removal, and that no one, including his attorney, could predict exactly

  the loss amount or the sentence to be imposed at the time of the plea. Stillwell, 709 F. App’x at

  590 (11th Cir. 2017) (“Stillwell cannot establish prejudice because both the plea agreement and

  the district court informed him that he could not rely on counsel’s estimated sentence, that the

  court retained all sentencing discretion, and that the conduct in Counts 2 and 3 would be

  considered at sentencing.”).        Because the record conclusively shows the Movant cannot

  demonstrate prejudice, the Court finds that no hearing is required and the Motion must be

  denied.

            Movant cites to the Supreme Court’s decision in Lee v. United States, 137 S. Ct. 1958

  (2017), in support of his Motion. But the “unusual circumstances” (id. at 1967) of Lee are

  distinguishable. In contrast to Movant’s responses during his plea hearing, in Lee the defendant

  stated on the record that any immigration consequences would affect his decision to plead guilty.

  Id. at 1968. Specifically,

                   [w]hen the judge warned him that a conviction “could result in
                   your being deported,” and asked “[d]oes that at all affect your
                   decision about whether you want to plead guilty or not,” Lee
                   answered “Yes, Your Honor.” When the judge inquired “[h]ow
                   does it affect your decision,” Lee responded “I don’t understand,”
                   and turned to his attorney for advice. Only when Lee’s counsel
                   assured him that the judge’s statement was a “standard warning”
                   was Lee willing to proceed to plead guilty.

  Id. (internal record citations omitted). As noted above, Movant here made no such statement on

  the record. Unlike in Lee, there is no contemporaneous, “substantial[,] and uncontroverted”

  evidence that Movant would not have entered his guilty plea but for the claimed assurances. The

  Court “ ‘should not upset a plea solely because of post hoc assertions from a defendant,’ ” Dodd

  v. United States, 709 F. App’x 593, 595 (11th Cir. 2017) (quoting Lee, 137 S. Ct. at 1967), and

  the Court declines to do so here.


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         V.    CONCLUSION

         Accordingly it is ORDERED AND ADJUDGED as follows:

               1. Defendant’s Motion, ECF No. [1], is DENIED WITHOUT PREJUDICE;

               2. All pending motions are DENIED AS MOOT; and

               3. The Clerk shall CLOSE this case.

         DONE AND ORDERED in Chambers at Miami, Florida, this 23rd day of April, 2018.




                                                     _________________________________
                                                     BETH BLOOM
                                                     UNITED STATES DISTRICT JUDGE
  Copies to:

  Counsel of Record




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